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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

IN RE: JOHN SALOV,
                                           Case No.: 8:13-bk-01017-CPM
             Debtor.                       Chapter 7
_________________________________________
CLARA R. ADAMS, RONALD ABDELLA, ROBERT     Adv. Proc. No. 8:13-ap-00378-CPM
BEESON, KENNETH DEBORD, JEANETTE DEBORD,
GERALD GILLIKIN, MARY K. HALL, GERALD
KNOLL, DELORES KOPPI, KURT KOPPI, , THOMAS
MOGG, JOHN RAUCH, GWEN RAUCH, RONALD
REVARD, KURT SCHWANNECKE, ELIZABETH
SCHWANNECKE, SABRINA SCHWERIN, WALTER
SCHWERIN, NOREEN VAN DEN BOOM, PERSONAL
REPRESENTATIVE OF THE ESTATE OF JOSEPH
VAN DEN BOOM, DECEASED, MARY WEISS,
ROBERT WINGER, GEORGE ALCOCK, HEDY
ALCOCK, KATHERINE ALDRIDGE, LILA ALPIN,
CLAUDE BRANNICK, SHARON BRANNICK, JAMES
CARRIER, TERESA CHRISTILAW, DOROTHY
CLAYPOOL, JO ANNE CRAMPTON, EVELYN
CURIE, STEVEN DEDYNE, DOROTHY DEDYNE,
RANDY GOODWIN, JARED HUGHES, MARY
HUGHES, JOSEPH KARAS, PHYLLIS KARAS,
ROBERT KATZ, LISA KIRBY, MARY LAFORET,
MICHAEL LITTLEJOHN, BARBARA LITTLEJOHN,
DIANE MARBLE, ROSS MAROUCHOC, KATHLEEN
MASON, REED OTTENWESS, MICHELLE PLATT,
SHERRILL PLATT, JOSEPH QUILLICO, BARRY
QUIMPER, MARY QUIMPER, KRISTIN
SCHWANNECKE, DEVANDRA SHARMA,
BARBARA SHARMA, KATHRYN SMITH, BURRIS
SMITH, ESTATE OF WAYNE TAYLOR, DECEASED,
CATHERINE TEAL, DANIEL THEMM, JANET
THEMM, KENNETH TRAVIS, DALE KRUEGER,
JONATHON PACKER, JOANNE LYON, ROGER
RIGTERINK, MICHAEL SPEER AND DIANA SPEER

              Plaintiffs,
v.

JOHN SALOV,

             Defendant.
____________________________________________/


                                 CONSENT JUDGMENT
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          THIS PROCEEDING came on for consideration of the parties' agreement to entry of a

judgment as set forth herein. By submission of this Consent Judgment for entry, the submitting

counsel represents that the opposing party consents to its entry. Accordingly, it is

          ORDERED that:

          1.     Discharge of the Debtor's debts owed to the Plaintiffs as stated in the Plaintiffs'

Second Amended Complaint (the “Complaint”) (Doc. 21), Counts I-LXXXIV is and the same

shall be DENIED pursuant to 11 U.S.C. § 523(a)(2)(A).

          2.     A judgment in the amount of $3,472,170.00 is awarded collectively to the named

Plaintiffs in the Complaint., to be allocated among the Plaintiffs pro rata in proportion to the amounts
sought as to each Plaintiff in the Second Amended Complaint.
        3.       Interest has accrued and shall continue to accrue on the judgment amount stated in

the preceding paragraph at the federal statutory rate of .11 percent ("federal judgment interest")

in accordance with 28 U.S.C. 1961 from the date of the entry of this Consent Judgment until the

judgment amount is paid in full.

          4.     If the judgment of $3,472,170.00 together with federal judgment interest

thereupon (collectively the "Judgment Amount") is paid within 24 months of the entry of this

Consent Judgment, the Plaintiffs shall file with this Bankruptcy Court a stipulation signed by all

parties, or a motion and agreed proposed order, for the entry of an order vacating and setting

aside this Consent Judgment.

          5.     The Judgment Amount is and shall remain non-dischargeable and is subject to

collection.     The amount set forth in the Complaint in excess of the Judgment Amount is

dischargeable except that the discharge of that excess amount shall not affect the liability of any

other entity or person, or the property of any other entity or person, for such debt. 11 U.S.C. §

524(e).




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          6.        The automatic stay which arose upon the Debtor's filing of his Petition in Case

 No. 8:13-bk-01017-CPM on January 28, 2013 pursuant to 11 U.S.C. § 362(a)(1) is set aside and

 discontinued with respect to the subject of this Consent Judgment. 11 U.S.C. § 362(c)(2)(C).
                                                                 ^
 provided, however, that the Debtor's property interests, if any, that existed on the date of the petition and were not scheduled
                                                                                                                           remain property
          7.        This Consent Judgment shall be and is without prejudice to and shall have no                           of the estate and
                                                                                                                           subject to the
                                                                                                                           automatic stay.
 effect upon claims of the instant Plaintiffs and other persons, if any, to be made in any state

 and/or federal court action or actions (collectively "Other Actions") against Coltrace

 Communications, Inc., Local HDTV, Inc., Digital TV of Orlando, LLC or any other entities

 and/or individuals (collectively "Putative Defendants") in regard to the promissory notes,

 purchases of the 2008 bonds, and other transactions which are the subject of this adversary

 proceeding as well as all other transactions between one or more of the Putative Defendants and

 the instant Plaintiffs and/or all other persons whom may be named as Plaintiffs in the Other

 Actions, subject to the provisions in the immediately following paragraph eight (8), infra.

          8.        The payment of the Judgment Amount, in whole or in part, shall offset and reduce

 by a corresponding amount of said payment(s) the amounts of the obligations of the obligors

 (Coltrace Communications, Inc., Local HDTV, Inc. and Digital TV of Orlando, LLC) to the

 instant Plaintiffs on the 2008 bonds, promissory notes and other transactions which are the

 subjects of the instant adversary proceeding.

          9.        This Consent Judgment is a final decree and Order. Fed. R. Bankr. P. 7054(a) and
                                                                      By agreement of of the parties,
 7058; Fed. R. Civ. P. 54(a) and 58(a) and (b)(2)(B). No costs or attorney fees are allowed to any
                                                     ^
 party. Fed. R. Bankr. P. 7054(b).
                                                                                            November 26, 2013
          DONE and ORDERED in Chambers at Tampa, Florida, on _____________________.




                                                         CATHERINE PEEK MCEWEN
                                                         United States Bankruptcy Judge
   Copies to be provided by CM/ECF service.

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Attorney Michael H. Perry is directed to serve a copy of this order on interested parties and file proof of service
within 3 days from entry of the order.
